Case 8-18-76198-ast

Fiil in this information to identify your case:

United Siates Bankruptcy Court for the:

Eastern District of New York

Case number (lf/<nown): 8“18~76198~33'[ y

Chapter7
l;] Chepter11
C] Chapter12
i;l Chapier13

 

DOC 16 Filed 10/22/18

Chapter you are filing under:

 

Official Form 101

Eni€red 10/22/18 18243:05

Check if this is an
amended filing

Vo|untary Petition for individuals F'iling for Bankruptcy 12/11

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing aione. A married couple may file a bankruptcy case together--caiied a
joint case-*and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separateiy, the form uses Debtor 1 and

Debtor 2 to distinguish between them. |n joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 |n ai| of the forms.

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. |f more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer evew question.

m identify Yourself

 

1. Your full name

Write the name that is on your
government-issued picture
identification (for example,
your driver’s license or
passpori)`

Bring your picture
identification to your meeting
with the trustee

 

 

 

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
N|ahmut

Flrst name F|rst name

Middle name M|ddle name

Yilan

Last name Last name

Sufnx (Sr., Jr., i|. ili)

Sufiix (Sr.. Jr., ll, l|l)

 

2. Ai| other names you

 

 

 

 

 

 

 

(mN)

 

have used in the last 8 mm name First name
years
include your married or Middi€ name Middie name
maiden names.
Lasi name ' Last name
First name First name
Nliddle name Middie name
Last name Last name
3. Oniy the last 4 digits of
your Social Security XXX ” XX `“” -1- »-Q- ~=-»§»- -»§- XXX ” XX “ --~ -»-»~ -=»-~ ~=»-~
number or federal OR OR
individual Taxpayer 9
identification number 9 XX `" XX “ XX ‘ XX *_-_-_~

 

 

Ochia| Form 101

Vo|untary Petltlon for individuals Flllng for Bankruptcy page 1

 

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l\/lahmut

Debtor 1

Yilan

 

Flrsi Name Middle Name

Lasi Name

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4. Any business names
and Employer
identification Numbers
(E|N) you have used in
the last 8 years

include trade names and
doing business as names

About Debtor 1:

m l have not used any business names or Ele.

About Debtor 2 (Spouse Oniy in a Joint Case):

l:.] l have not used any business names or Ele.

 

Business name

Business name

 

.Business name

Business name

 

 

 

 

 

“E“i`i\i `“"` Ei`ii ”“
EFN`“" ““’”`W"`"`“M“`" ‘i§i'i\i`m wmw”mmm
5. Where you live if Debtor 2 lives at a different address:
1346 Pine Acres Blvd.
Number Street Number Street
Bayshore NY 11706
city state ziP code City State ZIP Code
Suffolk
County Couniy

if your mailing address ls different from the one
above, fill lt in here. Note that the court will send
any notices to you at this mailing address

if Debtor 2’s mailing address is different from
yours, fill lt |n here. Note that the court will send
any notices to this mailing addressl

 

 

 

 

 

 

 

Number Street Number Street

P.O. Box P,O. Box

ciiy stare ziP code Ciiy Sf@fe ZiP Code
6. Why you are choosing Check one: Check one:

this district to file for
bankruptcy

m Over the last 180 days before filing this petition,
l have lived in this district longer than in any
other district

U l have another reason. Explain.
(see 28 u.s.c. § 1403.)

 

 

 

 

n Over the last 180 days before filing this petition,
l have lived in this district longer than in any
other district

i:] l have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

 

Ofticial Fomi 101

Vo|untary Petltlon for individuals Flling for Bankruptcy

page 2

 

Debtor 1

Case 8-18-76198-ast

l\/lahmut

Flrsi Name

Mldd|e Name

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Yilan

Lasi Name

Case number (iri<nown)8="i 8~761 98'~3811

m Tell the Court About Your Bankruptcy Case

 

 

 

 

 

 

 

 

 

 

7. The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S,C. § 342(b) for Indi'vidua/s Filing
Bankruptcy Code you for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
are choosing to file
under m Chapter 7
D Chapter 11
Cl Chapter 12
E] Chapter 13
a. How you will pay the fee EZi l will pay the entire fee when l file my petition. Please check with the clerk's office in your
local court for more details about how you may pay. Typicaily, if you are paying the fee
yourself,‘ you may pay with cash, cashier’s check, cr money order. lf your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address
l:l l need to pay the fee in installments if you choose this option, sign and attach the
Application for individuals to Pay The Filing Fee in Installments (Official Form 103A).
l:.\ l request that my fee be waived (You may request this option only if you are ming for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the cincia| poverty line that applies to your family size and you are unable to
pay the fee in installments). if you choose this option, you must fill out the Applicaiion to Have the
Chapter 7 Fi/ing Fee Waived (Ofiicial Form 103B) and tile it with your petition
9. Have you filed for m NO
bankruptcy within the
last 3 years-y l;l Yes. Distrlct When Case number
MM/ oo/YYYY
District When Case number
MM/ DD /YYYY
District When ' Case number
Mivi/ on /YYYY
10. Are any bankruptcy §Z| NO
cases pending or being _
fired by a Spouse who is l:] Yes. Debtor Re|ationship to you
not ming this ca,Se with District When Case number, if known
you, or by a business MM / DD /YYYY
partner, or by an
affiliate?
v Debtor Relationship to you
District When Case number, if known
MM / DD / YYYY
11- D° _y°u rem your w No. Go to line 12.
res'de"°e? Cl Yes. Has your landlord obtained an eviction judgment against you?

Official Form 101

ill No. eo to iine 12.

m Yes. Fi|l out lnit/'al Statement About an Eviction JudgmentAgainst Ycu (Form 101A) and Hle it as
part of this bankruptcy petition.

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Debtor1 Mahmut Yi|an Case number (irknawni8"1 8"761 98"ast

Flrst Neme Middie Nama Last Neme

 

Report About Any Businesses You Own as a Sole Proprietor

 

12. Are you a sole proprietor ill No_ 30 to pan 4,
of any fuii~ or part-time
business? l:i Yes. Name and location of business

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as

ac oration, artnershi ,or
LL(§.rp p p NUiTiber Street

 

Name of business, ii any

 

lf you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

 

 

Clty State Z|P Code

Check the appropriate box to descn’be your business:

L:i Health Care Business (as defined in 11 U.S.C. § 101(27A))
m Sing|e Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
[;l Stocl<broker (as defined in 11 U.S.C. § 101(53A))

n Commodity Broker (as denned in 11 U.S.C. § 101(6))

n None of the above

 

 

 

13. Are you filing under lf you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
Chapter 11 of the can set appropriate deadlines if you indicate that you are a small business debtor, you must attach your
Bankruptcy Code and most recent balance sheet, statement of operations, cash~iiow statement and federal income tax return or if
are you a small business any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

debtor? m
N. l tf`llil'l d Ch t 11.
For a definition of small 0 am no g un er t ap er
business dethr, 569 U No. | am filing under Chapter 11, but l am NOT a small business debtor according to the definition in
11 U.S.C. § 101(51D). the Bankruptcy COde.

13 Yes. l am filing under Chapter 11 and l am a small business debtor according to the definition in the
Bankruptcy Code.

m Report if You own or Have Any Hazardous property or Any Property That Needs Immediate Attention

 

14. Do you own or have any {Z] NO
property that poses or is ,
alleged to pose a threat ij Yes. What is the hazard?

 

of imminent and
identifiable hazard to

 

public health or safety?
Or do you own any

property that needs if immediate attention is needed, why is it needed?

 

immediate attention?
For example, do you own

 

perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Where is the property?

 

Number Street

 

 

City State ZlP Code

Ofticial Forrn 101 Vo|untary Pet|tton for individuals Fll|ng for Bankruptcy page 4

 

Case 8-18-76198-ast

ivlahmut

Flrst Name

Debtor 1

Middle Name

Yilan

Last Nerne

m Explain Your Efforts to Receive a Briefing About Credit Counseiing

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15. Teil the court whether
you have received a
briefing about credit
counseling

The law requires that you
receive a briefing about credit
counseling before you die for
bankruptcy. You must
truthfully check one of the
following choices. |f you
cannot do so, you are not
eligible to file.

if you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Fomi 101

About Debtor 1:

You must check one:

w l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

Ci l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but l do not have a
certificate of compietion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

m l certify that l asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement

To ask for a 30~day temporary waiver of the
requirement attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to fiie this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

|f the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any, lf you do not do so, your case
may be dismissed

Any extension of the 150-day deadline is granted
only for cause and is limited to a maximum of 15
days.

i:l l am not required to receive a briefing about
credit counseling because of:

[:l |ncapacity. l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances

m Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |

reasonably tried to do so.

i:i Actlve duty. l am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling you must file a
motion for waiver of credit counseling with the court.

Voluntary Petitlon for individuals Fiilng for Bankruptcy

About Debtor 2 (Spouse Oniy in a Joint Case):

You must check one:

i:l l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of compietion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

l:.i l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you tile this bankruptcy petition,
you MUST die a copy of the certificate and payment
plan, if any.

n i certify that l asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement

To ask for a 150-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the bnenng, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briehng before you filed for bankruptcy.

lf the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you h|e.
You must file a certificate from the approved
agency. along with a copy of the payment plan you
developed, if any, |f you do not do so, your case
may be dismissed

Any extension of the 130-day deadline is granted
only for cause and is limited to a maximum of 15
days.

L:i | am not required to receive a briefing about
credit counseling because of:

l:i lncapaclty. l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances

i;l Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after l
reasonably tried to do so.

 

[;i Active duty. l am currently on active military
duty in a military combat zone.

lf you believe you are not required to receive a
brienng about credit counseling you must file a _
motion for waiver of credit counseling with the court. :

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Debtor 1 Mah mut

Yiian

 

Flrst Name M|ddla Nan'le

m Answer These Questions for Reporting Purposes

Last Namo

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16. What kind of debts do
you have?

16a Are your debts primarily consumer debts? Consumer debts are denned in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personai, fami|y, or household purpose."

C] No. eo io line isn
Ri Yos.eoioiine17.

16b. Are your debts primarily business debts? Businoss debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment ,

Cl No. eo to line ieo.
Cl vos. eoionno 17.

160. State the type of debts you owe that are not consumer debts or business debts

 

 

17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is

E] No. l am not ming under Chapter 7. Go to line 18.

m Yes. | am ming under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

 

 

excluded and g NO
administrative expenses
are paid that funds will loo 13 Y@S
available for distribution
to unsecured creditors?
18. How many creditors do m 1~49 l:l 1,000-5,000 [] 25,001»50,000
you estimate that you l:] 50-99 Cl 5,001-10,000 Ei 50,001~100,000
°We? E] 100~199 El 10,001~25,000 iii ivioreihan 100,000
i:i 200~999
19. How much do you iii $0“$50,000 ill $1,000,001-$10 million C] $500,000,001-$1 binion

estimate your assets to
be worth?

L:l $50,001-$100,000
ill $100,001_$500,000
E`] $500,001-$1 million

i.:l $10,000,001-$50 million
CJ $50,000,001~$100 million
El $100,000,001-$500 million

C] $1,000,000,001-$10 billion
EJ $10,000,000,001-$50 binion
ill lvloro than $50 billion

 

20. How much do you
estimate your liabilities
to be?

Sigrl Beiow

Foryou

ill $0~$50,000

13 $50,001-$100,000
U.i $100,001-$500,000
l:l $500,001-$1 million

ill $1,000,001-$10 million

ill $10,000,001~$50 million
EZ| $50,000,001-$100 million
C] $100,000,001-$500 million

L`.l $500,000,001-$1 billion

C] $1,000,000,001~$10 billion
l:l $10,000,000,001-$50 billion
ill lvlore than $50 billion

l have examined this petition, and | declare under penalty of perjury that the information provided is true and

correct

|f l have chosen to file under Chapter 7, | am aware that l may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and l choose to proceed

under Chapter 7.

if no attorney represents me and l did not pay or agree to pay someone who is not an attorney to help me fill out
this document, l have obtained and read the notice required by 11 U.S.C. § 342(b).

l request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

l understand making a false statement concealing property, or obtaining money or property by fraud in connection

with a bankruptcy case can result l

 

18U.S.C. §§ 152, 112,11519, a l571.

x ///a

Signat'urev of Debtor 1

Executedon[f§ 122 §§ 155
MM / DD /YYYY

 
   

X

es up to $250 000, or imprisonment for up to 20 years, or both.

 

Signature of Debtor 2

Executed on

MM/ Db /YYYY

 

Oft"icial Forrn 101

Vo|untary petition for individuals Fillng for Bankruptcy

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benton Mahmu't

Yi|an

 

Flrst Neme Mldd|e Name

Lsst Nams

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For your attorney, if you are
represented by one

if you are not represented
by an attorney, you do not
need to file this page.

knowled

l, the attorney for the debtor(s) named in this petition, declare that l have informed the debtor(s) about eligibility
to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
available under each chapter for which the person is eliglb|e. i also certify that l have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
a in uiry that the information irl the schedules filed with the petition is incorrect

<:;:j v !W

 

Signature of Adom§yfoerebtor

Brent Chapman, Esq.

Date 19 30 13

MM / DD /YYYY

 

Printed name

Law Oftice of Brent Chapman, P.C.

 

Firm name

1399 Frank|in Avenue, Suite 200

 

Number Street

 

 

Garden City

NY 1 1530

 

City

Contact phone (516) 707“0557

 

235 6335

Bar number

State ZlP Code

Emai, address brent.chapman1@grnail.com

NY

State

 

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